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14
                                UNITED STATES DISTRICT COURT
15
                           SOUTHERN DISTRICT OF CALIFORNIA
16
       UNITED STATES OF AMERICA,                   Case No.: 18cr4683-GPC
17
                   Plaintiff,                      GOVERNMENT’S AMENDED
18                                                 NOTICE OF AUTHENTICTION
             v.                                    PURSUANT TO FED. R. EVID.
19                                                 902(11) & (13)
       JACOB BYCHAK (1),
20     MARK MANOOGIAN (2),
21     ABDUL MOHAMMED QAYYUM (3), and
       PETR PACAS (4),
22
                   Defendants.
23
24          COMES NOW the plaintiff, United States of America, by and through its counsel,
25 Randy S. Grossman, United States Attorney, and Assistant United States Attorneys
26 Melanie K. Pierson, Sabrina L. Fève, and Computer Crime and Intellectual Property
27 Section Senior Counsel Candy Heath, and hereby files its above-referenced Amended
28
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 1 Notice of Authentication, based on the files and records in this case, and the attached
 2 Exhibit.
 3                                                    I.
 4                                               INTRODUCTION
 5            On March 18, 2022, the United States filed notice of its intent to authenticate
 6 business and electronic evidence, pursuant to Federal Rules of Evidence 902(11) and 902
 7 (13). [ECF 347.] The records in questions were provided to the defense for inspection and
 8 copying, and were disclosed in electronic form, along with the certificates of authenticity.
 9 In a footnote to a response to a motion in limine, the defense stated that the defendants “do
10 not consent to the admissibility or relevance of the certifications.” [ECF 360-1, p. 2, fn.
11 1]. To avoid delay at trial resulting from repeated appearances by record’s custodians
12 appearing for the sole purpose of authenticating their records, the government requests that
13 the court rule that the records in question can be authenticated by the attached certificates
14 of authenticity. This request is not intended to preclude authentication by other means
15 permissible under law.
16                                                    II.
17               AUTHENTICATION PURSUANT TO FED. R. EVID. 902(11) & (13)
18            The United States intends to authenticate business records and records generated by
19 an electronic process, pursuant to Federal Rules of Evidence 902(11) and 902(13) and
20 consistent with Rule 803(6), using a certification from a custodian of records relating to
21 those business records. Specifically, the United States intends to so authenticate the trial
22 exhibits set forth below obtained from the following entities: the American Registry of
23 Internet Numbers (ARIN), Amobee (successor-in-interest to Adconion and Frontline
24 Direct), Telic, GoDaddy, Hostwinds, Cogent Communications, Tucows (successor-in-
25 interest to Enom), Moniker, the Goodman Law Firm, Native Rank (successor-in-interest
26 to GetAds), the Mata Group, PayPal, Name.com, the States of Louisiana and Delaware and
27 CPH Resources. The certificates of the custodians of records have been previously
28 produced as discovery, and are attached hereto as Exhibit 1. The table below identifies the
      Government’s Amended Notice of Intent to        2                 18cr4683-GPC
      Authenticate under FRE 902(11) & (13)
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 1 record holder, the trial exhibit number of the Certificate of Authenticity, and the trial
 2 exhibits (by number) sought to be authenticated.
 3 COA             Records         Records                            Trial Exhibit Nos.
    Exhibit No. Holders
 4 207             Broadcloud      LOA                                585
 5 218             Goodman         Email – MyCrim                     530
                   Law Firm        Host
 6 224             Moniker         Domain                             306
 7                                 purchase/registration
    225            ARIN            IP registration                    1, 1A-K, 2-5, 8-9, 13
 8                                 records
 9 226             Mata Group      Emails/LOAs                         25, 25A-C, 30, 61, 62, 62A,
                                                                       63, 72, 74
10     227                Cogent                 Emails/LOAs           29, 29A, 30A, 60, 64, 64A,
11                                                                     67-68, 70
       228                Telic                  Emails/LOAs           31, 31A, 93, 96-102, 102A,
12                                                                     125, 322, 531-584, 587, 617-
13                                                                     618, 641
       229                Hostwinds              Emails/LOAs           34, 34A, 35, 35A-B, 40, 40A,
14                                                                     42, 42A, 43, 46-54, 215-217,
15                                                                     219-223, 321, 586
       230                GetAds (25)            Contracts, invoices, 75-77, 86-87, 90A,91-92, 106,
16
                                                 records of payments, 109, 113-114, 118, 317-319
17                                               emails
       231                GetAds (12)            Contracts, invoices, 83-84, 94-95, 103-104,122-
18
                                                 records of payments, 124, 315-316
19                                               emails
20     232                GoDaddy                Domain                301-304, 309
                                                 purchase/registration
21     233                PayPal                 PayPal records        212-214
22     234                Name.com               Domain                307
                                                 purchase/registration
23     235                CPH                    CPH/MSP Operating 257-258
24                        Resources              Agreements/business
                          (43)                   docs
25     236                CPH                    MSP Solutions         259
26                        Resources              Filing Info
                          (43, 2nd
27                        production)
28
      Government’s Amended Notice of Intent to              3                  18cr4683-GPC
      Authenticate under FRE 902(11) & (13)
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 1     237                State of    DBA, LLC and                     254, 265, 67-268, 274, 277-
                          Delaware    corporate filings                279
 2     238                Enom/Tucows Domain                           305
 3                                    purchase/registration
       239                Enom        Domain                           260
 4                                    purchase/registration
 5     240                Amobee      Emails, W-2s,                    19-24C, 26, 26A,
                                      LOAs, contracts,                 36-39, 44-45, 55-59, 61A, 65-
 6                                    mailing reports                  66, 69, 71, 73,78-78A, 79-82,
 7                                                                     85, 88-90, 105-105B, 107-
                                                                       108,110-112, 115-117, 119-
 8                                                                     121, 126-189, 242-245, 255-
 9                                                                     256, 261-262, 323-528, 588-
                                                                       615, 619-640, 642-645
10     241                State of               Driver’s license,     284-286
11                        Louisiana              death certificate
12                                                         III.
13
                                                       CONCLUSION
14
15            For the foregoing reasons, the United States respectfully requests that the court
16 permit the trial exhibits noted in the table to be authenticated (separate and apart from
17 any ruling on admissibility), based on the attached Certificates of Authenticity from the
18 Custodians of Records.
19            DATED: March 29, 2022                   Respectfully submitted,
20                                                     RANDY S. GROSSMAN
21                                                     United States Attorney
22
                                                       /s/Melanie K. Pierson
23                                                     Assistant United States Attorney
24
                                                       /s/Sabrina L. Fève
25                                                     Assistant United States Attorney
26
                                                       /s/Candy Heath
27                                                     Senior Counsel
                                                       Computer Crime and Intellectual Property Section
28
      Government’s Amended Notice of Intent to               4                   18cr4683-GPC
      Authenticate under FRE 902(11) & (13)
